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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00070
                                  )
LUCAS DENNEY                      )
                                  )
                 Defendant        )
                                  )



     DEFENDANT LUCAS DENNEY’S PRELIMINARY GUIDELINE ANALYSIS




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        Pursuant to this Court’s Order on March 14, 2022, Defendant Lucas Denney hereby

advises the Court with respect the Defense’s preliminary views regarding application of the

United States Sentencing Guidelines to a guilty plea to the sole count of the Indictment charging

him with a violation of 18 U.S.C. Section 111(a) and (b).

        The possible application of the Guideline provisions is not a matter required to be

covered under the Rule 11 colloquy. However, the Defense understands the Court’s need to

determine that a guilty plea is entered “knowingly” and “voluntarily”, and the potential

application of the Sentencing Guidelines is a subject which might inform the Court view on that

question.

        The information set forth herein is based on Counsel’s review of the facts of the offense

of conviction, and the application of the facts to the charged count.

        The Defense has been provided only limited discovery at this point with respect to the

charged count, including a video provided to the Defense by Counsel for the Government as

having captured the specific incident charged in the indictment.

        Review of all discovery to which the Defendant is entitled prior to sentencing may alter

the analysis set forth herein.

        The analysis set forth below is informed by and in part relies upon recommendations and

stipulations entered into by the Department of Justice in other cases resolved by a guilty plea to a

violation of § 111(a) and (b).

        This analysis is preliminary only and is not intended to be an agreement or concession

that any of the referenced provisions will apply or not apply once a Presentence Report is

prepared and filed.




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       Mr. Denney reserves the right to make all appropriate objections to which he is entitled

by law with respect to all parts of a Presentence Report that may hereafter been prepared and

filed with the Court.

       18 U.S.C. § 111 is covered by U.S.S.G. 2A2.2.

               Base Offense Level                                                             14

               Brandishing a Dangerous Instrument                                             +3

               Conviction under the (b) subparagraph                                          +2

       The indictment identifies the “assault” as having been committed against Officer “KK”.

The indictment does not allege that Officer KK suffered “bodily injury. A video of the charged

offense conduct, as identified by the Government, does not show any injury to Officer KK.

       Chapter 3 Adjustments

               Official Victim – § 3A1.2                                                      +6

               Acceptance of Responsibility – § 3E1.1                                         -3

               Adjusted Offense Level                                                         22

       Criminal History Cat. I: Mr. Denney is an Iraq combat veteran and has no criminal

history.

       Recommended Guideline Range:                                                 41-51 mos

       There are numerous mitigating factors pertinent to Mr. Denney that will require

consideration as part of the Court’s consideration of the 3553(a) factors at sentencing. The

Defense reserves the right to present and argue mitigation evidence as a basis for either a




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variance or downward departure from the Guideline calculation as determined by the Court.

       Date: March 16, 2022
                                           Respectfully Submitted,

                                           /s/ WILLIAM L. SHIPLEY JR.
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                                           Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       I, William L. Shipley, hereby certify that on this day, March 16, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.




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